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                       EXHIBIT A

          [Proposed Order Granting Motion to Seal]
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                               )    Chapter 11
                                                     )
KABBAGE, INC. d/b/a KSERVICING, et al.,1             )    Case No. 22-10951 (CTG)
                                                     )
                              Debtors.               )    (Jointly Administered)
                                                     )
                                                     )    Related Docket No. ___

    ORDER APPROVING MOTION OF CUSTOMER BANK FOR AUTHORIZATION
     TO FILE UNDER SEAL EXHIBITS 3, 3(a) 6, 8, AND 9 TO THE DECLARATION
     OF ALYSSA WHITE IN SUPPORT OF OPPOSITION OF CUSTOMER’S BANK
     TO DEBTOR’S MOTION FOR AN ORDER ENFORCING THE SETTLEMENT
              ORDER AND SETTLEMENT AGREEMENT BETWEEN
                    KSERVICING AND CUSTOMERS BANK

         Upon consideration of the Motion of Customers Bank for Authorization to Seal Exhibits

3, 3(a), 6, 8, and 9 to the Declaration of Alyssa White in Support of Opposition of Customer’s

Bank to Debtor’s Motion for an Order Enforcing the Settlement Order and Settlement Agreement

Between KServicing and Customers Bank (the “Motion to Seal”); and the Court having reviewed

all pleadings related thereto; and the Court having determined that there exists just cause for the

relief granted therein;

         IT IS HEREBY ORDERED THAT:

         1.     The Motion to Seal is GRANTED; and




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
tax identification number, as applicable are: Kabbage, Inc. d/b/a KServicing (3937); Kabbage
Canada Holdings, LLC (N/A); Kabbage Asset Securitization LLC (N/A); Kabbage Asset
Funding 2017-A LLC (4803); Kabbage Asset Funding 2019-A LLC (8973); and Kabbage
Diameter, LLC (N/A). Kabbage is a trademark of American Express used under license;
Kabbage, Inc. d/b/a KServicing is not affiliated with American Express. The Debtors’ mailing
and service address is 925B Peachtree Street NE, Suite 383, Atlanta, GA 30309.
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        2.    Customer Bank is hereby granted permission to file Exhibits 3, 3a, 6, 8, and 9 to

the Second White Declaration2 under seal pursuant to Federal Rule 9018 and Local Rule 9018-

1(b).


Dated: _________, 2022
                                                   The Honorable Craig T. Goldblatt
                                                   United States Bankruptcy Judge




2
 Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion to
Seal.
                                               2
